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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  BABY DOE, et al.                                      )
                                                        )
                 Plaintiffs,                            )
                                                        )
  v.                                                    )       Case No. 3:22-cv-49-NKM
                                                        )
  JOSHUA MAST, et al.                                   )
                                                        )
                 Defendants,                            )
                                                        )
                                                        )


            DEFENDANTS JOSHUA AND STEPHANIE MAST’S RESPONSE TO
                     UNITED STATES’ MOTION TO QUASH

         Defendants Joshua and Stephanie Mast do not oppose the United States’ motion to quash

  the Plaintiffs’ third-party subpoenas directed to Donna A. Welton of the State Department and Col.

  Joseph M. Fairfield and Lt. Col. Rosemary Reed of the Department of Defense. The Masts simply

  maintain, as they long have, that any federal officials who provide testimony in connection with

  this or any related proceeding must be subject to a full and fair opportunity for cross-examination.

  The Masts do not concede that the Government’s permission is necessary to conduct such cross-

  examination or that the Government has the authority to limit the scope of cross-examination. But in

  order to avoid any doubt, they have submitted a conditional request for authorization under the

  applicable Touhy regulations such that, if the Court rules that one or more of these federal officials

  must testify in response to Plaintiffs’ subpoenas, those witnesses will be authorized to respond fully

  and fairly to cross-examination on any topics on which they are examined directly.
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        Dated: May 21, 2024          Respectfully submitted,

                                     /s/ John S. Moran          .




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